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                 IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                        EASTERN DISTRICT OF PENNSYLVANIA

IN RE: Bonner, Robert, Jr ,                   :       Bankruptcy No.: 20-13470-pmm
                                              :
                       Debtor.                :       CHAPTER 13
                                              :
                                              :       HEARING DATE: March 31, 2022
                                              :       HEARING TIME: 10:00a.m.
                                              :       HEARING PLACE: Courtroom No. 4
                                              :       The Gateway Building
                                              :       201 Penn Street
                                              :       Reading, PA 19601
                  AMENDED MOTION FOR MODIFICATION OF
                   CHAPTER 13 PLAN AFTER CONFIRMATION
       AND NOW come the Debtor, Robert Bonner, Jr, (heretofore referred to as the “Debtor”), by

and through her Attorney, Patrick J. Best, Esquire, of ARM Lawyers, respectfully moves this

Honorable Court as follows:

       1.     On January 19, 2021, the Debtor filed a Second Amended Chapter 13 Plan with this

Honorable Court. On February 25, 2021, this Honorable Court filed an Order Confirming the Debtor’s

Second Amended Plan.

       2.     The Debtor intends on filing a Third Amended Chapter 13 Plan based upon the

following events:

              a. Debtor’s income was impacted by the COVID 19 pandemic insofar as he had

                    COVID and fell behind on his Chapter 13 Plan payments;

              b. Debtor moved to Arizona and his expenses increased;

              c. Debtor wishes to extend his Chapter 13 bankruptcy plan by an additional 24 months

                    to allow him to better afford his plan payments.

       3.     In accordance with F.R.B.P 3015(g) this Honorable Court requires the filing of a

Motion to Modify or Amend the Chapter 13 Plan in order to confirm the Third Amended Chapter 13

Plan with the Court.
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      WHEREFORE, Debtor respectfully requests that this Honorable Court enter and Order

confirming the Debtor’s Third Amended Chapter 13 Plan.

Date: March 3, 2022                                      /s/ Patrick J. Best
                                                         Patrick J. Best, Esquire
                                                         ARM Lawyers
                                                         18 N 8th Street
                                                         Stroudsburg, PA 18360
                                                         570.424.6899
